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 3   Scottsdale, AZ 85254
     joshua@cardenlawfirm.com
 4
     (480) 454-1100
 5   (480) 454-1101 (Fax)
     Attorney for Plaintiff
 6
                            IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8   Josephine Borchardt,
 9                                                                Cause No. 2:17-cv-01727-DJH
                                 Plaintiff,
10   v.                                                     EX PARTE APPLICATION TO
11                                                         WITHDRAW AS COUNSEL FOR
     Harkins Fashion Square, LLC,                                  PLAINTIFF
12
                                 Defendant.
13
14          Pursuant to LRCiv 83.3(b)(1), Rules of Practice of the United States District Court for the
15   District of Arizona (“Local Rules”), attorney Joshua W. Carden and the Joshua Carden Law Firm,
16   P.C. hereby apply to this Court to withdraw as counsel for Plaintiff Josephine Borchardt.
17   Irreconcilable differences have arisen between counsel and Plaintiff regarding the litigation
18   process. If this Application is granted, the following contact information is where the defendant
19   can be reached by mail or telephone:
20          c/o John Egbert
21          16444 North 91st Street, Suite 100
22          Scottsdale, Arizona 85260
23          (480) 471-5583
24          This matter has not been set for trial, thus LRCiv 83.3(b)(3) does not apply. Discovery has
25   been completed and no motions are currently pending. The dispositive motion deadline is
26   currently set for September 28, 2018. If no such motion is filed, the Plaintiff’s Notice of Readiness
27   for trial is due by October 8, 2018.
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 1         Respectfully submitted on this 6th day of September, 2018,
 2                                                  Joshua Carden Law Firm, P.C.
 3
                                                    By: s/Joshua W. Carden
 4                                                  Joshua W. Carden
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 6
     Client Approval
 7
 8   I, Josephine Borchardt, hereby give my approval to the withdrawal of Joshua W. Carden and the
     Joshua Carden Law Firm, P.C. as my counsel in this matter.
 9
10   Dated: ____________________________
               September 6 2018



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     ________________________________________
13   Josephine Borchardt
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 1                                 CERTIFICATE OF SERVICE
 2          Pursuant to LRCiv 83.3, this application is initially being presented ex parte to the Court.
 3   A certificate of service and notice of the entry of the order upon Defendant will be filed upon the
 4   Court signing the order.
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 6                                                    /s/Joshua W. Carden
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 1                                 CERTIFICATE OF SERVICE
 2          I certify that on the 10th day of September, 2018, I electronically transmitted a PDF version
 3   of this document to the Office of the Clerk of the Court, using the CM/ECF System for filing and
 4   transmittal of a Notice of Electronic Filing to all CM/ECF registrants listed for this matter.
 5
     Copy by Email to John Egbert - johnegbert@jsslaw.com – Attorney for Defendant.
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                                                      /s/Joshua W. Carden
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